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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re: New York City Policing During                     20-cv-8924(CM)
Summer 2020 Demonstrations




       THE POLICE BENEVOLENT ASSOCIATION OF THE CITY OF NEW
       YORK, INC.’S REPLY MEMORANDUM OF LAW IN OPPOSITION TO
                         PROPOSED SETTLEMENT


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                                        INTRODUCTION

       Intervenor The Police Benevolent Association of the City of New York, Inc. (“PBA”)

respectfully submits this reply memorandum in further support of its motion to reject the

Proposed Settlement, and in response to the opposing submissions of Plaintiffs 1 and the City of

New York defendants (the “City Defendants”). 2

       The opposing submissions make one thing clear: the parties to the Proposed Settlement

have different understandings of its fundamental nature. The City Defendants say: “the PBA’s

argument that this entire Settlement Agreement … represents a reckless novel form of policing

has no basis in fact.” (City Def. Br., p. 4.) But when the Proposed Settlement was announced,

Plaintiffs told the public: “Today’s settlement represents a novel approach to policing protests.”

https://www.nyclu.org/en/press-releases/nyclu-legal-aid-society-and-attorney-general-james-

announce-agreement-nypd-reform.

       On this question, Plaintiffs are right and the City is wrong. The settlement is a radical

departure from well-established methods of policing, chiefly in binding the NYPD to a rigid

“tiered” approach in which the City will be, in many cases, forbidden from taking common-sense

measures to protect lives and property. So far as we know, no jurisdiction anywhere has adopted

so extreme an approach; neither Plaintiffs, their expert, nor the City Defendants cite any

example.




1
  Plaintiffs’ papers consist of the Consolidated Plaintiffs’ Memorandum Of Law In Opposition
To Intervenor Police Benevolent Association’s Motion To Reject The Settlement Agreement
(“Pl. Br.”, ECF No. 1127), the Declaration of Hassan Aden, with exhibits (“Aden Dec.”, ECF
No. 1128), and the Declaration of Corey Stoughton, with exhibits (ECF No. 1129).
2
  The City Defendants’ papers consist of a Memorandum Of Law In Opposition To The Police
Benevolent Association Of The City Of New York, Inc.’s Motion To Reject Proposed Settlement
(“City Def. Br.”, ECF No. 1130).
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         It is irrelevant that, as its proponents argue, the procedures mandated by the Proposed

Settlement may sometimes, or often, be appropriate, or that the NYPD now can and does follow

those procedures when circumstances warrant. There is a world of difference between having

discretion, for example, to maintain a minimal police presence, or none, at the outset of a protest

and being compelled by a judicially approved settlement to do so until the protest turns violent.

The rigidity of the Proposed Settlement creates grave dangers to police officers and the public –

a problem that the parties favoring the settlement do not adequately address.

                                           ARGUMENT

         Plaintiffs and the City Defendants offer different views as to what standard the Court

should apply on this motion. Plaintiffs argue that the PBA lacks standing to raise any objections,

while the City Defendants acknowledge that the Court should consider whether the terms of the

Proposed Settlement are fair and reasonable.

         Plaintiffs’ position is inconsistent with the Second Circuit’s decision allowing the PBA to

intervene. The PBA has proposed, and continues to support, a stricter test than the City

Defendants do – whether the Proposed Settlement materially affects officer safety – but, under

the circumstances here, that will differ little in practical application from the City’s “fair and

reasonable” standard. No one argues, or could seriously argue, that a material impairment of

officers’ safety is “fair and reasonable” – at least not where, as here, no party has even tried to

show the sort of egregious pattern and practice of police misconduct that might justify such a

step.

         Whatever standard the Court applies, so long as it recognizes that the PBA has standing

to have its views considered, the Proposed Settlement fails. Neither Plaintiffs nor the City




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  Defendants have refuted the PBA’s showing of the unwarranted risks the Proposed Settlement

  poses to the safety of its member officers and the public.

I.          THE SCOPE OF THE COURT’S REVIEW

            A.      Plaintiffs’ Argument That The PBA Lacks Standing To Raise Objections
                    Should Be Rejected

            Plaintiffs argue that, in recognizing the PBA’s right to participate in the litigation, the

     Circuit did not intend that its officer safety concerns should be considered by this Court in

     assessing any potential settlement absent “formal legal prejudice," which in Plaintiffs’ view

     means the stripping of a legal claim or defense. Pl. Br., pp. 6-12 (citing, inter alia, Bhatia v.

 Piedrahita, 756 F.3d 211, 218 (2d Cir. 2014)). But the Circuit’s reason for granting intervention

 was that “changing the policies that govern officer conduct may affect officer safety”, In re New

 York City Policing During Summer 2020 Demonstrations, 27 F.4th 792, 804 (2d Cir. 2022), and

 it held that the PBA had a protectable interest in “[t]he nature and scope of any injunctive relief”

 or “accommodations” reached, such as those in the Proposed Settlement. 27 F.4th at 802.

 Indeed, this Court itself found that “The PBA ‘might have an interest’” supporting intervention

 “‘if the parties were to propose a settlement that would result in changes to NYPD

 tactics/personnel procedures . . .’”. 27 F.4th at 798, quoting, In re New York City Policing

 During Summer 2020 Demonstrations 537 F. Supp. 3d 507, 512(S.D.N.Y. 2021). That, of

 course, is precisely what we now have.

            Neither Bhatia nor any of the other cases Plaintiffs cite in arguing that this Court should

 not even consider the PBA’s concerns (Pl. Br., pp. 6-11) involved a situation where the Circuit

 had already made plain that it should. They are therefore irrelevant to the questions before the

 Court.




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       Plaintiffs fare no better in arguing that the numerous changes to NYPD policy that they

concede are called for by the Proposed Settlement (Pl. Br., p. 9) do not matter, because the

Proposed Settlement does not “create any new duties or obligations for individual members of

service at the patrol officer level”. Id. This is not true -- the PBA’s members have “duties and

obligations,” as a condition of their employment, to comply with directives issued by their

superior officers in accordance with the Proposed Settlement’s labyrinthine requirements. The

Proposed Settlement’s “changes to the policies that govern officer conduct,” recognized by the

Circuit, are the subject matter of the present motion, and the argument that this Court cannot

consider them is untenable.

       Plaintiffs’ misreading of the Circuit’s decision also underlies – and overthrows – their

argument that the Proposed Settlement does not implicate protectable interests of the PBA

because the “Second Circuit’s ruling speaks primarily to the PBA’s interest in preventing a

judgment that would declare certain policies unlawful”, Pl. Br., p. 12 (emphasis in original), and

the Proposed Settlement does not address the lawfulness of prior policing policies. 3 Contrary to

Plaintiffs’ characterization, the Circuit found that the PBA should be allowed to intervene at the

merits phase specifically because it had an interest in any policy changes that might result from

a finding of liability. The Circuit directly confirmed that the alteration of policies – as would be

accomplished by the Proposed Settlement – was the more significant interest:

       The merits question before the district court is whether certain NYPD policies are
       permissible. The answer to that question may require a change in those policies.
       And changing the policies that govern officer conduct may affect officer safety.
       That means the litigation—at the merits phase—may impair the PBA's interest.




3
 The City Defendants not only refrain from joining this argument, they contradict it, saying,
correctly, that “the Second Circuit granted intervention to the PBA at least in part to prevent the
City from entering into a politically motivated settlement.” City Def. Br., p. 3


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27 F.4th at 800; see also, id. at 798 (noting PBA’s position that it should be allowed to intervene

“[b]ecause any conclusions of the district court on the merits would affect the scope of a

resulting settlement agreement between the parties and would constrain the policy options

available for new rules of engagement” (emphasis supplied); and at 801 (recognizing the PBA’s

right “to contest the proposition that the challenged policies are unlawful and should be

changed.”) (emphasis supplied.)

       Nor does the PBA’s participation in mediation prevent it from raising objections to the

Proposed Settlement. All parties agree that, given applicable confidentiality rules regarding

mediation, disclosure of the proposals and objections that were exchanged during mediation

would be inappropriate. The PBA submits that such a disclosure would also be irrelevant. The

salient facts about the Proposed Settlement are that it says what it says, and that the PBA has not

agreed to it. It does not matter how much or little the PBA was permitted to or did say about the

defects of the proposals made during the negotiations (in fact, it said a lot), or how attentively the

other parties did or did not listen, when they did not address the PBA’s concerns.

       Plaintiffs’ argument essentially boils down to the contention that the Circuit intended the

PBA to be allowed into this proceeding in a manner reminiscent of certain types of relationship

therapy, where the only goal is for the complainant to “be heard”, even though no one can offer

solutions to the problems presented. But the Circuit’s decision cannot fairly be read to

contemplate a merely therapeutic form of intervention. The Proposed Settlement should be

considered – and, we submit, rejected – on its merits.

       B.      Review of the Proposed Settlement Under The City’s “Fair And Reasonable’
               Standard Requires Consideration Of Whether Officer Safety Is Impaired

       Unlike Plaintiffs, the City Defendants recognize a standard of review that would allow

the PBA’s objections to be considered by the Court. See, e.g., City Def. Br. at 9-11 (calling


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Court’s attention to United States v. City of Albuquerque, No. Civ. 14-1025, 2020 U.S. Dist.

LEXIS 103158 (D.N.M. June 12, 2020) as presenting “questions very similar to the ones faced

by the Court here”); City Def. Br. at 13 (“based on the reasoning in City of Albuquerque, it is up

to the Court to decide if the Settlement Agreement is fair, reasonable, and consistent with federal

law”); id. at 14 (“According to City of Albuquerque, the PBA would have to demonstrate that the

settlement is unfair, unreasonable, and inconsistent with federal law.”) See also City Def. Br. at

15 (directing Court to United States v. City of New York, 308 F.R.D. 53, 62-64 (E.D.N.Y. 2015),

which considered proposed settlement under standard of whether it was “lawful, fair, reasonable,

adequate, consistent with the public interest, and not the product of collusion, and whether any of

the objections thereto has sufficient merit to overcome the presumption of validity accorded to

the relief agreement.”) 4

       The PBA has proposed a standard of review more closely tailored to the specific reason

the PBA was allowed to intervene in this case: we submit that any settlement that materially

impairs the safety interests of the PBA’s members would be inconsistent with the rationale of the

order permitting intervention. See PBA’s Memorandum Of Law In Support Of Motion To Reject

Proposed Settlement (ECF no. 1120) (“PBA Br.”), pp. 3-5. The difference between this standard

and the City’s “fair and reasonable” standard is academic here, however. No party suggests that a

material impairment of officers’ safety interests would be “fair and reasonable” on the facts of

this case. No party has even tried to show, on this motion, that there is merit to Plaintiffs’ claim

that there has been a pattern and practice of constitutional violations for which the City is liable –


4
  The City Defendants make a passing reference to Bhatia v. Piedrahita and related cases on
which Plaintiffs rely in seeking to prevent the PBA’s objections from being considered by the
Court. City Def. Br., p. 15. To the extent the City Defendants join in Plaintiffs’ argument that
the PBA’s objections should not be considered by the Court, that argument should be rejected for
the reasons discussed above at p. 3.



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much less the kind of abuse that might justify putting officer safety at risk. Indeed, at least the

City takes the opposite approach – seeking not to magnify the seriousness of Plaintiffs’ claims,

but to trivialize the changes made by the Proposed Settlement. There’s nothing to see here, the

City suggests – just a codification of best policing practices. We demonstrate below why this is

wrong.

         Accordingly, we do not oppose the City’s suggestion that the Court consider this motion

under the “fair and reasonable” standard employed in City of Albuquerque, a standard which

necessarily gives significant weight to officer safety concerns. Specifically, we endorse, as

applicable to this case, the following quotation from City of Albuquerque, which appears at p. 10

of the City Def. Br:

         Intervention gives the Officers Association merely the right to present its
         Objections to the Court. It does not make the Officers Association a party to the
         Settlement Agreement, nor does it give the Officers Association the ability to
         override the Settlement Agreement. Of course, the Court could reject the
         Original Settlement Agreement based on the Officers Association's
         Objections.

City of Albuquerque, 2020 U.S. Dist. LEXIS 103158 at *247 (emphasis supplied).

 II.     THE MERITS OF THE PROPOSED SETTLEMENT

         Plaintiffs and the City Defendants argue that the Proposed Settlement is fair, reasonable

and in the public interest because it enhances officer (and, at least by implication, public) safety

and is not impractical. These contentions cannot survive review of the Proposed Settlement’s

terms and the realities of policing public protests.

         A.     Plaintiffs Fail to Refute the PBA’s Showing That the Proposed Settlement
                Jeopardizes the Safety Of Officers And the Public

         Plaintiffs’ defense of the Proposed Settlement on the issue of officer safety is premised

on mischaracterizations of its terms and the PBA’s objections.




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       First, Plaintiffs argue that the Proposed Settlement adopts:

       current nationally accepted policing best practices including community
       engagement before and during the events, an emphasis on de-escalation,
       minimizing the use of mass arrests in favor of focused enforcement action, a
       ‘graded’” or multitiered response system, and a process for review and improving
       police response to protests.

Pl. Br., p. 17. But Plaintiffs never identify with any specificity the “nationally accepted”

practices they are talking about; they never explain how present NYPD policy falls short of those

“best practices”; and they do not identify a single community in the entire nation that has

adopted anything similar to the mandatory tiered structure in the Proposed Settlement.

       Plaintiffs assert that their vaguely described “best practices” are in contrast to the

“escalated force model proposed by the PBA and its declarant, Louis Anemone” which they say

is outmoded, and leads to a “cycle of tension and violence”. Id. at 18. This misrepresents the

PBA’s position and Chief Anemone’s opinion. The PBA does not object to the Proposed

Settlement because it employs community engagement, de-escalation, minimization of mass

arrests or review and improvement of police response. All of those things are and have long

been part of the NYPD’s approach to policing public protests. See, Reply Declaration of Louis

Anemone dated November 15, 2023 (“Anemone Reply Dec.”), ¶12.

       The PBA does not advocate an “escalated force model” or “mass arrests” or “negotiated

management model.” Anemone Reply Dec. ¶¶2-3. What the PBA does advocate is common-

sense, case-by-case decision-making, in which officers’ safety is not endangered by unjustified

and unreasonable limitations on deployment, resources, and discretion, as in the Proposed

Settlement. The main difference between the approach embodied in the Proposed Settlement and

the one the PBA advocates is that the former micromanages the policing of protests with rigid

rules that will often prevent measures necessary for the protection of officers and the public.




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Specific provisions of this kind are identified in the PBA’s previous submissions, but Plaintiffs

(and the City Defendants) leave them largely unaddressed. Nor do Plaintiffs offer any coherent

overall defense of, or any precedent for, the overall rigidity of the Proposed Settlement’s tiered

approach.

       More specifically, Plaintiffs make no attempt to explain why it makes sense to impose a

near-absolute prohibition, at the Tier I stage, to the presence of any police other than community

liaison officers at an FAA (¶¶38-42), and to require, even in Tier II, that absent extraordinary

circumstances any police be kept out of sight (¶46). Chief Anemone’s first declaration details

how an early and obvious police presence is critical to deterring violence in certain

circumstances. Anemone Dec. ¶¶29-30. Plaintiffs and their expert do not assert that no such

circumstances can occur.

       Plaintiffs’ pious tributes to community engagement and disapproval of “escalated force”

do not answer specific questions – including ones that require no expertise to ask, e.g.: Would it

not have been better to have more police at the Capitol before the demonstration of January 6,

2021 became lawless? And how would police have coped with the recent, chaotic

demonstrations relating to the events in Israel and Gaza, if no officers (other than community

liaisons) could show their faces until crimes were actually committed? Nor do Plaintiffs explain

why a police officer is forbidden to make an arrest without obtaining a higher-up’s approval

when a crime as serious as first degree riot or first degree trespass is committed in his or her

presence. See PBA Br., pp. 12-13. The likely reason why Plaintiffs do not answer these

questions: No good answers exist.




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       In short, Plaintiffs’ attack on an “escalated force model” that no one favors is a straw

man, evidently intended to distract attention from their failure to address the Proposed

Settlement’s flaws.

       Plaintiffs also fail in their attempt to denigrate Chief Anemone’s expertise and credibility.

Pl. Br., pp. 18-19. As set forth in his first declaration, Chief Anemone’s decades-long experience

as a leading figure in the NYPD’s policing of public protests – both in planning, and on the

ground – clearly supports his authority to address the subject. By contrast, the expert proffered

by Plaintiffs served in relatively small communities in Virginia and North Carolina, and does not

claim any hands-on experience in the policing of large protests. And this out-of-town expert is

the only one proffered to defend the Proposed Settlement. The City Defendants – who include

many, and have access to all, of the NYPD’s leadership, with their vast experience – present no

declarant. (See the following subsection.)

       Chief Anemone has kept abreast of policing matters since his retirement, both through

numerous pertinent consulting engagements and as a professor of criminal justice. Anemone

Reply Dec., ¶¶5-8. Plaintiffs’ attempt to discredit him precisely because he has experience with

New York policing of protests, Pl. Br., p. 19, is nonsensical – especially because neither

Plaintiffs nor the City Defendants have even tried to support the Proposed Settlement with a

showing that New York’s policing history is marked by the kind of systemic misconduct that

would support a liability finding in this case. On the contrary, a report Plaintiffs rely on shows

that, where there was fault to find with the policing of the summer 2020 protests, a major cause

was unreadiness for the sudden and unexpected eruption of violence – a problem that the

Proposed Settlement, with its rigid insistence on minimal policing, would worsen, not solve.




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“Police simply did not expect and were not prepared for the level and extent of violence they

encountered. It was unlike anything they had seen in 20 years.” Document 1128-5.

       Plaintiffs’ contention (also made by the City Defendants) that the Proposed Settlement

follows existing NYPD policy with respect to Red Light/Green Light offenses, Pl. Br., p. 16, is

demonstrably wrong. In fact, there is no department-wide Red Light/Green Light policy, and to

the extent such exist they do not use the Proposed Settlement’s definitions of Red Light and

Green Light offenses. See deposition transcript of NYPD Chief Stephen Hughes, annexed at

Exh. 2 to the declaration of Plaintiffs’ counsel Corey Stoughton, at p. 127, lines 8-21 (identifying

Red Light/Green Line as guidelines, not Department policy) and at p. 124, lines 3-18 & p. 125,

lines 7-13 (identifying only three examples Red Light offenses -- blocking traffic, petit larceny

and criminal mischief -- without mentioning the expanded list of Red Light offenses in the

Proposed Settlement.)

       Plaintiffs ignore many other problems with the Proposed Settlement, and mischaracterize

still others. One example is particularly pertinent to officer safety. Plaintiffs say that the

Proposed Settlement “merely states that when officers are sent for traffic control purposes they

should not be equipped to execute mass arrests”. Pl. Br., p. 20. In fact, ¶41 of the Proposed

Settlement makes no reference to mass arrests. It says instead that officers sent for traffic control

duty “shall not carry equipment associated exclusively with [SRG] units such as flex-cuffs”. As

shown at ¶ 36 of the first Anemone Dec. (7th bullet point), this will deter if not preclude the use

of essential protective gear such as face shields, batons, and shields.

       B.      The City Defendants Also Fail In Their Defense Of The Proposed Settlement

       The City Defendants offer little more than rhetoric and dismissive commentary (e.g.,

“Nothing within this Agreement imposes an undue burden on officers beyond the inherent risk of




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being a New York City Police Officer” (City Def. Br. at p. 11) as to whether the Proposed

Settlement is fair and reasonable with respect to officer or public safety. Like Plaintiffs, they

leave most of the PBA’s specific criticisms of the Proposed Settlement unanswered. Several of

the substantive arguments the City Defendants do make overlap arguments made by Plaintiffs,

and we need not repeat our responses. Other arguments are too obviously weak to require a

response, but we cannot resist comment on the extraordinary assertion that “if the PBA truly

believed that what was being structured was a danger to its members, it should have raised this

concern with the Court months ago.” (City Def. Br., pp. 12-13.) This may be the first time it has

ever been argued that a party is obliged to run to court in the middle of settlement negotiations,

to complain that the other parties are discussing ideas it does not like.

       The City Defendants’ remaining points require only brief comment. First, City

Defendants have not made the requisite record supporting their assertion that various provisions

they identify in their footnote 3 reflect and do not modify existing NYPD policy. But even if they

had, this would raise the question why these provisions are in the Proposed Settlement.

       The City Defendants argue, again at p. 4, that the Proposed Settlement cannot contain any

terms that endanger officer safety because it includes boilerplate language saying that “the

NYPD shall, at all times, maintain its ability to enforce the law consistent with the U.S.

Constitution, the laws of the State of New York, and the New York City Charter.” This is a

complete non sequitur. That extremely broad language does nothing to address the specific flaws

the PBA has pointed out – unless the City is arguing, absurdly, that the language it relies on

negates the provisions the PBA complains of.

       Next, the City Defendants argue that Chief Anemone erroneously assumed that the

Proposed Settlement’s tiered structure necessarily begins at Tier I and that, because it can begin




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elsewhere and jump among Tiers, it is “explicitly designed to account for fluid situations and to

allow the NYPD to rapidly adjust its response and deployment decisions in light of the realities

on the ground.” City Def. Br., p. 5. But ¶38 confirms that Tier I “applies, and should

presumptively apply, to all FAAs, unless thresholds for another tier apply and/or protesters

specifically request the presence of officers.” We assume it is possible, under the Proposed

Settlement, to move among Tiers in a non-linear fashion – but only where the rigid criteria for

the higher tiers are met, and where the cumbersome process for escalating from one to another is

observed.

       Finally, the City Defendants assert that the PBA cannot object to the Proposed

Settlement’s restrictions on officer deployment because “Individual police officers do not make

deployment decisions” and “[t]o the extent that the PBA believes that the Settlement Agreement

imposes additional duties on its members by virtue of its deployment regime, such questions

would be resolved within the scope of a CBA dispute.” City Def. Br., p. 14. Once again, the City

Defendants are, in substance, rearguing the Second Circuit’s intervention decision. That decision

holds that the PBA is entitled to raise safety concerns in this action, and is not to be relegated to

the bargaining table.

       Perhaps the most important aspect of the City Defendants’ submission on this motion is

something it does not contain. As we have mentioned, the City Defendants proffer no declarant –

not a single senior member of the NYPD to address the Court, either as an expert or fact witness,

about the merits of the settlement. This striking omission leaves open at least two questions: Do

senior officials of the NYPD agree with the PBA’s criticisms of the Proposed Settlement? And in

the City’s decision to accept the Proposed Settlement, has political decision-making prevailed

over NYPD expertise? Perhaps the Second Circuit was prescient in saying that decision-making




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in this case “could turn on political calculations.” In re New York City Policing During Summer

2020 Demonstrations, 27 F.4th at 803.

III.    THE BURDENS THE PROPOSED SETTLEMENT WOULD IMPOSE ON THE
        COURT

        The PBA’s previous submissions showed that the Proposed Settlement would oblige the

Court, over a period of years, to resolve disputes over whether split-second policing decisions

complied with the Proposed Settlement’s extraordinarily complex terms. While both Plaintiffs

and the City Defendants attempt to show otherwise, their submissions only confirm the severity

of the problem.

        Neither Plaintiffs nor the City Defendants dispute that, for at least four years, only the

Court can resolve any disputes over the City’s compliance with the Proposed Settlement that are

not worked out through a non-binding consultation process. Plaintiffs’ argument that “there is

little risk that the Court will find itself mired in interpretive complexity around such common

legal concepts as ‘material breach’ and ‘tailored relief,’” Pl. Br., p. 23, rings hollow. We surely

do not need to tell the Court that such issues as materiality and “tailoring” can be vexing indeed.

But that is only a fraction of the problem.

        Our earlier memorandum (PBA Br., p.16) forecast disputes “over decisions to move from

tier to tier, equipment and tactics that officers may use, the number of officers appropriate for

any number of unforeseeable tasks and whether the number of officers deployed or the duration

of their deployment was appropriate . . .based on review of the actions of officers, supervisors

and protesters undertaken in chaotic and rapidly-changing circumstances.” Plaintiffs do not

contradict this description of disputes that may arise – but they assure the Court that disputes are

unlikely, because this settlement (like almost every other settlement) was “designed to avoid

unnecessary post-settlement litigation.” (Pl. Br., p. 23; emphasis added.) But most settlements



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do not, as this one does, offer parties dissatisfied with their counter-parties’ performance the

option of an immediate application to an assigned federal judge. More typically, absent an

arbitration clause or similar mechanism, such parties must go through the burdensome process of

commencing new litigation – and they do that with dismaying frequency.

       Plaintiffs go on to offer their own forecast of what will happen when disputes cannot be

settled consensually, which the Court may not find reassuring:

   Should motions practice become necessary, they can be brought only at certain inflection
   points: at the conclusion of Phase I, in the event that the policies and training materials
   the NYPD develops so deviate from the terms of the agreement that they constitute a
   material breach of it (¶ 101(d)); 18 months or 30 months into Phase II—the oversight
   period—or at its conclusion, if the Department of Investigation’s reports suggest there is
   material breach [of any term at Phase II] or if there is a “persistent failure” to engage in
   the collaborative process or changes to the policies or training that constitute material
   breaches of the agreement (¶ 124); during the 12 months of Phase III, if Plaintiffs can
   demonstrate backsliding that constitutes material breach, and only then to obtain “tailored
   relief” specific to that breach (¶ 130).

Pl. Br., pp. 23-24 (bold emphasis for temporal provisions, italics for subject matter).

       The authors of this paragraph have clearly thought the subject through – and are ready

to make as many applications as they think they need to, probably lasting into 2028 if not

much longer.

       The City Defendants express equally unconvincing optimism that no disputes will

arise under this long, complicated agreement, dealing with sensitive and controversial topics,

that cannot be settled consensually. They focus their discussion on the Collaborative

Committee, which they say will prevent such issues from coming to the Court. But they, like

Plaintiffs, cannot dispute the simple fact that the Proposed Settlement makes this Court the

arbiter of first resort: it provides for no other neutral decision-maker. See City Def. Br., pp.

6-8. The City Defendants also make the flimsy point that Plaintiffs may be deterred from

raising issues with the Court because, if unsuccessful, they may be liable for “costs” (e.g., the



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expense of photocopying). (City Def. Br., p. 6; Proposed Settlement ¶ 138) They do not

mention that the same paragraph of the Proposed Settlement offers an incentive to litigation.

Plaintiffs alleging non-compliance by the City are not liable for attorneys’ fees if their

application fails, but can recover attorneys’ fees if they win.

       The Proposed Settlement is highly likely to impose an unjustified and excessive

burden on this Court.

                                          CONCLUSION

       For all of the above reasons, the PBA respectfully submits that the Proposed Settlement as

presented to the Court should not be approved in its current form.

Dated: November 15, 2023
       New York, New York
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